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                         UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  AT BECKLEY


MICHAEL D. ROSE,
and EDWARD L. HARMON,
on their own behalf and on behalf
of all others similarly situated, et al.

                Plaintiffs,

v.                                                          CIVIL ACTION NO. 5:22-cv-00405

MICHAEL FRANCIS,
individually and as an employee of
the West Virginia Division of Corrections
and Rehabilitation,
THE RALEIGH COUNTY COMMISSION,
John/Jane Doe Employees of the Raleigh
County Commission,
THE FAYETTE COUNTY COMMISSION,
John/Jane Doe Employees of the Fayette
County Commission,
THE GREENBRIER COUNTY COMMISSION,
John/Jane Doe Employees of the Greenbrier
County Commission,
THE MERCER COUNTY COMMISSION,
John/Jane Doe Employees of the Mercer
County Commission,
THE MONROE COUNTY COMMISSION,
John/Jane Doe Employees of the Monroe
County Commission,
THE SUMMERS COUNTY COMMISSION,
John/Jane Doe Employees of the Summers
County Commission,
THE WYOMING COUNTY COMMISSION,
John/Jane Doe Employees of the Wyoming
County Commission,
PRIMECARE MEDICAL OF WEST VIRGINIA, INC.,
John/Jane Doe PrimeCare Employees,
JOHN/JANE DOE CORRECTIONAL OFFICERS,
BETSY JIVIDEN, individually as an employee of the
West Virginia Division of Corrections and Rehabilitation,
WEXFORD HEALTH SOURCES, INC.
John/Jane Doe Wexford Employees,
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BRAD DOUGLAS, individually and in his official
capacity as the acting Commissioner of the West
Virginia Division of Corrections and Rehabilitation,
JEFF S. SANDY, individually and in his official
capacity as the Cabinet Secretary of the West
Virginia Division Department of Homeland Security, and
WILLIAM K. MARSHALL, III
individually and in his official capacity as the Commissioner
of the West Virginia Division of Corrections and Rehabilitation,

               Defendants.


                                            ORDER

               Pending is Plaintiffs and Defendants Brad Douglas, Betsy Jividen, William K.

Marshall III, Jeff S                                                                          Joint

Motion for Clarification of Order or Alternative Relief [Doc. 837], filed November 28, 2023. In

                                 , Order [Doc. 821] directing the parties to submit a proposed

schedule for case events relative to the pending settlement respecting the Settling Defendants, the

                                                    the forthcoming settlement] is withheld, new

                                                                              Id. at 3]. The moving

parties now seek clarification of whether                                                      the

Order includes a new period for objections to the                                       Order and

Proposed Findings and Recommendation [Doc. 774], entered October 30, 2023.

               Accordingly, the Court confirms that new deadlines for filing objections to

Magistrate Judge Aboulh        Order and Proposed Findings and Recommendation [Doc. 774] will

be set should the Court withhold approval of the forthcoming settlement.

               The Clerk is DIRECTED to transmit a copy of this written opinion and order to all

counsel of record and to any unrepresented party.




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                                        ENTER:     December 11, 2023




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